               Case 2:14-cr-00239-KJM Document 124 Filed 11/15/16 Page 1 of 3


     Michael L. Chastaine SBN 121209
1    The CHASTAINE LAW OFFICE
     2377 Gold Meadow Way, Suite 100
2    Gold River, CA 95670
     (916) 932-7150
3    Email: Mike@Chastainelaw.net
4    Attorney for Defendant
     Marco Borja
5

6
                                  UNITED STATES DISTRICT COURT
7
                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9                                                )   Case No.: 2:14CR00239 GEB
     United States of America,                   )
10                                               )
                     Plaintiff,                  )
11
                                                     MOTION FOR EXONERATION OF
                                                 )
             vs.                                 )   PROPERTY BOND; [PROPOSED]
12                                               )   ORDER
     Marco Borja,                                )
13                                               )
                     Defendant.                  )
14                                               )
15
             On September 10, 2014, the defendant, Marco Borja (“Mr. Borja”) was ordered
16

17   released by this Court on an appearance bond secured by a deed of trust on property

18   owned by Mr. Borja.
19
             That deed of trust was posted in this District on September 29, 2014 (Docket #
20
     38.)
21
             Mr. Borja entered into a plea agreement with the United States on April 15, 2016.
22

23
     He was sentenced on September 16, 2016 and began his prison commitment on

24   November 11, 2016.

25



     Motion to Exonerate Property Bond                               U.S. v. Borja 14-cr-0239

                                                 -1-
               Case 2:14-cr-00239-KJM Document 124 Filed 11/15/16 Page 2 of 3


             Mr. Borja was in compliance with his terms of release throughout the criminal
1

2    proceedings. Mr. Borja respectfully requests that his property bond in the amount of

3    $79,000 be exonerated.
4

5
     DATED: November 15, 2016                  Respectfully submitted,
6

7                                              / s /Michael L. Chastaine
                                               Michael L. Chastaine
8                                              Attorney for Defendant
                                               Marco Borja
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



     Motion to Exonerate Property Bond                               U.S. v. Borja 14-cr-0239

                                                 -2-
               Case 2:14-cr-00239-KJM Document 124 Filed 11/15/16 Page 3 of 3


     Michael L. Chastaine SBN 121209
1    The CHASTAINE LAW OFFICE
     2377 Gold Meadow Way, Suite 100
2    Gold River, CA 95670
     (916) 932-7150
3    Email: Mike@Chastainelaw.net
4    Attorney for Defendant
     Marco Borja
5

6
                                  UNITED STATES DISTRICT COURT
7
                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9                                               ) Case No.: 2:14CR00239 GEB
     United States of America,                  )
10                                              )
                     Plaintiff,                 ) ORDER EXONERATING PROPERTY
11                                              )
             vs.                                ) BOND
12                                              )
     Marco Borja,                               )
13                                              )
                     Defendant.                 )
14                                              )
15
                                                 ORDER
16
             The property bond previously posted by Marco Borja in this District to secure his
17
     release is hereby EXONERATED, and the deed of trust is ordered reconveyed to the
18

19
     surety, Marco Borja.

20   Dated: November 15, 2016
21

22

23

24

25



     Motion to Exonerate Property Bond                              U.S. v. Borja 14-cr-0239

                                                -3-
